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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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        TERRA LIBRE LAND TRUST et al.,                        CASE NO. 3:23-cv-05135-DGE
11
                                Plaintiff,                    ORDER DISMISSING PLAINTIFFS
12              v.                                            FOR FAILURE TO OBTAIN
                                                              COUNSEL
13      WELLS FARGO BANK NA et al.,
14                              Defendant.

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16          On March 22, 2023, the Court ordered Plaintiffs “to obtain counsel within 45 days of this

17   order[,]” or Saturday, May 6, 2023. (Dkt. No. 10 at 2.) The Court noted that if the Plaintiffs

18   failed to do so, “the matter will be dismissed without prejudice, without further notice. (Id.)

19          On April 10, 2023, Plaintiff Terra Libre Land Trust filed a motion requesting an

20   extension of time to obtain counsel. (Dkt. No. 11.) The Court denied this request, again

21   ordering the Plaintiffs to “obtain counsel by [Monday,] May 8, 2023, or the matter will be

22   dismissed without prejudice, without further notice.” (Dkt. No. 12 at 2.)

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     ORDER DISMISSING PLAINTIFFS FOR FAILURE TO OBTAIN COUNSEL - 1
                Case 3:23-cv-05135-DGE Document 16 Filed 05/24/23 Page 2 of 2




 1           As of today, May 24, 2023, Plaintiffs have not obtained counsel of record. Accordingly,

 2   Plaintiffs’ Complaint (Dkt. No. 4) is hereby DISMISSED without prejudice. 1

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 4           Dated this 24th day of May, 2023.

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                                                                   David G. Estudillo
 7                                                                 United States District Judge
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       Plaintiff Terra Libre Land Trust’s motion for default against Wells Fargo NA is rendered moot by this dismissal.
     (Dkt. No. 14.)
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     ORDER DISMISSING PLAINTIFFS FOR FAILURE TO OBTAIN COUNSEL - 2
